
82 So.3d 1055 (2011)
Karren PLAINES, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-4323.
District Court of Appeal of Florida, First District.
October 25, 2011.
Michael L. Rhodes, Crestview, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Upon consideration of the appellant's response to the Court's order of August 17, 2011, the Court has determined that its jurisdiction was not timely invoked. Contrary to the appellant's assertion, the Motion to Mitigate Sentence did not delay rendition of the Judgment and Sentence. Fla. R.App. P. 9.020(h). Accordingly, the appeal is hereby DISMISSED.
BENTON, C.J., VAN NORTWICK and SWANSON, JJ., concur.
